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IN THE UNITED STATES DISTRICT COURT DEP'UTY- CLERK `

FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA
Plaintiff,
v. Case No. 15-40086-05-D])C
SEAN P. HALL,
a/l</a “Chef,”
Defendant.

 

 

PLEA AGREEMENT

The United States of America, by and through Assistant United States Attorney, Christine
E. Kenney, and Sean P. Hall the defendant, personally and by and through his counsel, Thomas
R. Telthorst, hereby enter into the following Plea Agreement pursuant to Rule ll of the Federal
Rules of Criminal Procedure:

l. Defendant's Ggilw Plea. The defendant agrees to plead guilty to Count l of the
Information charging a violation of 18 U.S.C. § 3’71, that is, Conspiracy to Commit lnterstate and
Foreign Travel or Transportation in Aid of Racketeering Enterprises, in violation of 18 U.S.C. §
1952; Interstate Transportation for Purposes of Prostitution, in violation of 18 U.S.C. § 2421;
and, Inducement of Interstate Travel for Pulposes of Prostitution, in violation of 18 U.S.C. §
2422(a). By entering into this Plea Agreement, the defendant admits to knowingly committing
the offense(s), and to being guilty of the offense(s). The defendant understands that the
maximum sentence Which may be imposed as to Count l of the lnforn:lation to Which he has
agreed to plead guilty is not more than 5 years of irnprisonment, a 3250,000 fine, 3 years of

supervised release, and a $lUO mandatory special assessment

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2. Factual Basis for the Guiltv Plea. The parties agree the facts constituting the
offense to Which the defendant is pleading guilty are as follows:

Franl< Boswell was a known pimp and had been operating a prostitution
organization in the Topeka, Kansas area since at least 2008. At times, Boswell
had as many as 20 females Working for him as prostitutes (“commercial sex
Workers”). Boswell rented houses where he allowed some of the commercial sex
workers to live. Boswell utilized web based escort sites to advertise the
commercial sex Workers, and used cell phones and Faccbook to maintain contact
with the commercial sex workers. The cell phones were also used to arrange
dates for the commercial sex workers For example, Boswell Would direct the
commercial sex workers to travel to another city, such as Joplin, Missouri,
Omaha, Nebraska, or lunction City, Kansas, for the purpose of engaging in
commercial sex acts. Boswell or someone else in the organization posted an
escort ad for the commercial sex wor‘kers, and included the telephone number for
customers to arrange a meeting with the commercial sex worker. The commercial
sex Workers sent Boswell or the person in charge of tracking the jobs a text
message when the appointment Was rnade, when the customer arrived to confirm
everything was good, and When the appointment Was completed and the amount
of money made. Depending upon the particular situation, sometimes the worker
Wired the money to Boswell before the Worker returned to Topeka. All the money
from the commercial sex acts was turned over to Boswell.

Beginning in 2012, the defendant, Sean P. Hall, Worked for Boswell at Club
l\/lagic, a nightclub in Lawrence, Kansas. The defendant became a trusted
associate of Boswell’s. Boswell explained to the defendant how his prostitution
business Worked. The defendant participated in Boswell’s prostitution business
The defendant transported commercial sex Workers to and from prostitution jobs.
Tlre defendant posted photos of commercial sex workers to internet sites such as
Backpage.com for the purpose of advertising the commercial sex workers’
services The defendant posted reviews of the commercial sex Worker's on other
internet sites such a “ECCI,” a website known for advertising prostitution and
reviews of prostitution

During the period of time that the defendant was involved in Boswell’s prostitution
organization, the defendant or some other participant and co-conspirator used cell
plrones, the intemet, and other facilities in interstate commerce to engage in and promote
the business of prostitution; transported a person across state lines for purposes of
engaging in prostitution; and, induced a person to travel across state lines for purposes of
engaging in prostitution Overt acts in furtherance of the conspiracy occurred in the
District of Kansas.

3. Application of the Sentencing Guidelines. The parties request that the Court

apply the United States Sentencing Guidelines (Guidelines) to calculate the applicable sentence

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and impose a sentence consistent with the Guidelines. The defendant agrees to waive all
constitutional challenges to the validity of the Guidelines. The defendant understands and
acknowledges that the Court will find, by a preponderance of the evidence, the facts used to
determine the offense level, and in making its findings, that the Court may consider any reliable
evidence, including hearsay. Nothing in this section prevents the parties from filing objections to
the Presentence Report prepared by the United States Probation Office, or' from arguing the
application of specific sections of the Guidelines. The parties agree that the Court will determine

the final Guideline range. The parties understand this Plea Agreement binds the partiesonly and

does not bind the Court.
4. Relevant Conduct. The parties have agreed to the application of the Guidelines.

Therefore, the defendant agrees that the conduct charged in any dismissed counts, as well as all
other uncharged related criminal activity, will be considered as relevant conduct for purposes of
calculating the offense level for the count(s) of conviction, in accordance with United States
Sentencing Guidelines (U.S.S.G.) § lBl.3.

5, Government's Agreements. ln return for the defendant’s plea of guilty as set
forth herein, the Acting United States Attorney for the District of Kansas agrees:

(a) to move to dismiss the original lndictment at the time of sentencing;

(b) to not file any additional charges against the defendant arising out of the
facts forming the basis for the present Information or original lndictment;

(c) to recommend a sentence at the low end of the applicable Guideline range;

(d) to recommend the defendant receive a two (2) level reduction in the
applicable offense level under U.S.S.G. § 3E1.l for acceptance of
responsibility ln addition, if his offense level is 16 or greater, prior to any
reduction for acceptance of responsibility, and the Court finds he qualifies
for a two-level reduction, the United States will move at the time of
sentencing for an additional one-level reduction for acceptance of
responsibility because he timely notified the government of his intention
to enter a plea of guilty;

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(e) to recommend to the United States Probation Officer that the defendant’s
total offense level be determined to be level 14 pursuant to U.S.S.G. §
ZGl.l(a)(Z); and

(f) in the event the United States requests the Court to consider reducing the
defendant’s sentence for his substantial assistance, as discussed below, to allow
the defendant to argue for a greater reduction for that substantial assistance than
the United States recommends

The United States’ obligations under this Par‘agraph are contingent upon the defendant’s
continuing to manifest an acceptance of responsibility If tire defendant denies or gives
conflicting statements as to his involvement, falsely denies or frivolously contests relevant
conduct the Court determines to be true, willfully obstructs or impedes the administration of
justice, as defmed by U.S.S.G. § 3C1.1 (or willfully attempts to do so), or has engaged in
additional criminal conduct, the United States reserves the right to petition the Court for a
hearing to determine if he has breached this Plea Agreement.

If the Court finds by a preponderance of the evidence that the defendant (l) has breached
or violated this Plea Agreement; (2) has willfully obstructed or impeded the administration of
justice, as defined by U.S.S.G. § 3Cl.l (or willfully attempted to do so); (3) has engaged in
additional criminal conduct; or (4) has otherwise failed to adhere to this Plea Agreement’s terms,
the United States shall not be bound by this Paragraph, and may pursue any additional charges
arising from the criminal activity under investigationJ as well as any charges for any perjury,
false statement, or obstruction of justice that may have occurred.

If the Court finds the defendant has violated this Plea Agreement, he understands and
agrees that all statements he made, any testimony given before a grand jury or other tribunal, or
any leads from such statements or testimony, shall be admissible against him in any and all
criminal proceedings The defendant waives any rights which might be asserted under the

United States Constitution, any statute, F ederal Rule of Criminal Procedure ll(f), Federal Rule

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of Evidence 401, or any other federal rule that pertains to the admissibility of any statements he
made subsequent to this Plea Agreement.

6. Defcndant’s Agreements. The defendant agrees to cooperate fully and truthfully
with the United States. Specifically, the defendant agrees:

(a) to provide truthful, complete, and accurate information and testimony in the trial
of this matter,_ before any grand jury proceeding, or in any related hearing',

(b) to provide all information concerning the defendant’s knowledge of, and
participation in the offenses charged in the Information and original lndictment
and all related conduct; and

(c) in the event the United States requests the Court to consider reducing the
defendant’s sentence for his substantial assistance, as discussed below, to not
request a downward departure for anything other than his substantial assistance,
and to not request a variance for any reason under 18 U.S.C. § 3553(a).

7. Substantial Assistance. The defendant acknowledges that he has not yet
provided substantial assistance within the meaning of U.S.S.G. § 5K1.l and 18 U.S.C. § 3553(e).
He also acknowledges and understands that the determination as to whether he has provided
substantial assistance and whether a U.S.S.G. § 5K1.1 motion will be filed are left entirely and
exclusively within the discretion of the United States. lf the United States makes a determination
that he has provided substantial assistance, the United States shall request that the Court
consider reducing the sentence he would otherwise receive under the applicable statutes and/or
sentencing guidelines, pursuant to 18 U.S.C. § 3553(e), 28 U.S.C. § 994(n), and U.S.S.G. §
5K1.1.

8. Sentence to be Determined by the Court. The defendant understands that the
sentence to be imposed will be determined solely by the United States District Judge. The

United States cannot and has not made any promise or representation as to what sentence he will

receive.

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9. Information Provided by Def`endant. The United States agrees to not use new
information the defendant provides about his own criminal conduct, except as specifically
authorized by U.S.S.G. § lBl.8. As such, this information may be revealed to the Court, but
may not be used against him to determine his applicable Guideline range or to depart above the
applicable Guideline range. Defendant understands and agrees, however, that under U.S.S.G. §
1B1.8, there shall be no such restrictions on the use of the information (1) previously known to
the United States; (2) revealed to the United States by, or discoverable through, an independent
source; (3) in a prosecution for perjury or giving a false statement; or (4) if the defendant
breaches this Plea Agreement.

10. Withdrawal of Plea Not Permitted. The defendant understands that if the Court
accepts this Plea Agreement, but imposes a sentence with which he does not agree, he will not be
permitted to withdraw his guilty plea.

11. Pavment of Special Assessment. The defendant understands that a mandatory
special assessment of $100 per count of conviction will be entered against him at the time of
sentencing The defendant agrees to deliver to the Clerk of the United States District Court
payment in the appropriate amount no later than the day of sentencing If the defendant fails to
make full payment of the special assessment, the United States will no longer be bound by the
provisions contained in Paragraph 5 of this agreement The defendant has the burden of
establishing an inability to pay the required special assessment The parties acknowledge that if
the Court finds the defendant is without resources to pay the special assessment at the time of
sentencing, the Court may allow payment during his period of incarceration

12. Waiver of Appeal and Collateral Attack. The defendant knowingly and
voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, his conviction, or the components of the sentence to be imposed herein, including

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the length and conditions of supervised release, as well as any sentence imposed upon a
revocation of supervised release. The defendant is aware that 18 U.S.C. § 3742 affords him the
right to appeal the conviction and sentence imposed The defendant also waives any right to
challenge his sentence, or the manner in which it was determined, or otherwise attempt to
modify or change his sentence, in any collateral attack, including, but not limited to, a motion
brought under 28 U.S.C. § 2255 (except as limited by United States v. C()ckerha.m, 237 F.3d
1179, 1187 (lOth Cir. 2001)), or a motion brought under F ederal Rule of Civil Procedure 60(b),
ln other words, the defendant waives the right to appeal the sentence imposed in this case, except
to the extent, if any, the Court departs upwards from the sentencing Guideline range that the
Court determines to be applicable However, if the United States exercises its right to appeal the
sentence imposed, as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may appeal the sentence received, as authorized by 18 U.S.C. § 3742(a).
Notwithstanding the forgoing waivers, the parties understand that the defendant in no way
waives any subsequent claims with regards to ineffective assistance of counsel or prosecutorial
misconduct

13. FOIA and Privacy Act Waiver. The defendant waives all rights, whether
asserted directly or by a representative, to request or receive from any department or agency of
the United States any records pertaining to the investigation or prosecution of this case,
including, without limitation, any records that may be sought under the Freedom of lnformation
Act, 5 U.S.C. § 552. The defendant further waives any rights conferred under the Privacy Act of
1974, 5 U.S.C. § 552a, to prevent or object to the disclosure of records or materials pertaining to
this case.

14. Full Disclosure by United States. The defendant understands the United States

will provide to the Court and the United States Probation Office all information it deems relevant

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to determining the appropriate sentence in this case. This may include information concerning
his background, character, and conductJ including the entirety of his criminal activities The
defendant understands these disclosures are not limited to the count to which he is pleading
guilty The United States may respond to comments he or his attorney makes, or to positions he
or his attorney takes, and to correct any misstatements or inaccuracies The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this Plea Agreement The defendant also has
the right to provide information concerning the offense and to make recommendations to the
Court and the United States Probation Office.

15 . Parties to the Agreement. The defendant understands this Plea Agreement binds
only him and the Acting United States Attorney’s for the District of Kansas, and that it does not
bind any other federal, state, or local prosecution authority

16 . No Other Agreements. The defendant has had sufficient time to discuss this
case, the evidence, and this Plea Agreement with his attorney and he is fully satisfied with the
advice and representation his attorney provided Further, the defendant acknowledges that he
has read the Plea Agreement, understands it, and agrees it is true and accurate and not the result
of any threats, duress or coercion The defendant further understands that this Plea Agreement
supersedes any and all other agreements or negotiations between the parties, and that this Plea
Agreement embodies each and every ternr of the agreement between the parties

17. The defendant acknowledges that he is entering into this Plea Agreement and is
pleading guilty because he is guilty He further acknowledges that he is entering his guilty plea

freely, voluntarily, and knowingly

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l','liristine E. l{ermey
Assistant United States Attorney

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Criminal Chief/Supervisor

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Sean P. Hall
Defendant

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Counsel for Defendant

  

Duston J. Slinkard
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